      Case 5:17-md-02773-LHK Document 780 Filed 10/17/18 Page 1 of 6



 1   Counsel Listed on Signature Page
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 8                             UNITED STATES DISTRICT COURT

 9                          NORTHERN DISTRICT OF CALIFORNIA
10
                                        SAN JOSE DIVISION
11

12                                                Case No. 5:17-MD-02773-LHK
     IN RE QUALCOMM ANTITRUST
13   LITIGATION                                   JOINT CASE MANAGEMENT
                                                  STATEMENT
14
                                                  Date:     October 24, 2018
15                                                Time:     2:00 p.m.
                                                  Ctrm:     Courtroom 8
16                                                Judge:    Hon. Lucy H. Koh
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                                                            JOINT CASE MANAGEMENT STATEMENT
                                                              Case No. 5:17-md-02773-LHK-NMC
     1306746
          Case 5:17-md-02773-LHK Document 780 Filed 10/17/18 Page 2 of 6



 1             Pursuant to the Court’s September 7, 2018 Order Continuing Further Case Management

 2   Conference (MDL ECF No. 728), the MDL Plaintiffs (“Plaintiffs”) and Defendant Qualcomm

 3   Incorporated (“Qualcomm”) (collectively, the “Parties”) have met and conferred and hereby

 4   submit this Joint Case Management Statement, which reports on developments since the Parties

 5   filed their September 5, 2018 Joint Case Management Statement (MDL ECF No. 717).

 6   I.        ORDERS, PLEADINGS, AND MOTIONS

 7             On September 27, 2018, the Court issued an order granting Plaintiffs’ motion for class

 8   certification (MDL ECF No. 760).

 9             On October 11, 2018, Qualcomm filed with the United States Court of Appeals for the

10   Ninth Circuit a petition under Federal Rule of Civil Procedure 23(f) seeking permission to appeal

11   the Court’s September 27, 2018 Order Granting Plaintiffs’ Motion for Class Certification (MDL

12   ECF No. 760).

13             On October 12, 2018, the parties filed joint administrative motions to seal their pleadings

14   related to Plaintiffs’ motion for class certification, as required by the Court’s September 28, 2018

15   Order Denying Without Prejudice Administrative Motions to Seal (MDL ECF No. 763).

16   II.       PARTY DISCOVERY

17             A.     Document Discovery

18             On October 2, 2018, Plaintiffs requested that Qualcomm produce updated or current

19   versions of certain documents and data that Qualcomm had previously produced. Qualcomm has

20   produced the documents that Plaintiffs requested.

21             On October 14, 2018, Plaintiffs requested that Qualcomm produce updated or current

22   versions of additional documents, which Qualcomm is in the process of producing.

23   III.      MEDIATION/ALTERNATIVE DISPUTE RESOLUTION

24             Further to the Parties’ July 25, 2018 ADR Status Report, Qualcomm and Plaintiffs have

25   agreed to private mediation of this matter. Mediation is scheduled with Hon. Layn R. Phillips for

26   October 31, 2018.

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                                                        1                JOINT CASE MANAGEMENT STATEMENT
                                                                           Case No. 5:17-md-02773-LHK-NMC
     1306746
      Case 5:17-md-02773-LHK Document 780 Filed 10/17/18 Page 3 of 6



 1   IV.       CLASS NOTICE

 2             Plaintiffs expect to file with the Court a written plan for notice to the class on or before

 3   October 30, 2018.

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 5   Dated: October 17, 2018
                                                              Respectfully submitted,
 6
                                                               SUSMAN GODFREY LLP
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 8
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                                                          2                JOINT CASE MANAGEMENT STATEMENT
                                                                             Case No. 5:17-md-02773-LHK-NMC
     1306746
      Case 5:17-md-02773-LHK Document 780 Filed 10/17/18 Page 4 of 6


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23                                            Plaintiffs’ Steering Committee

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                                          3             JOINT CASE MANAGEMENT STATEMENT
                                                          Case No. 5:17-md-02773-LHK-NMC
     1306746
      Case 5:17-md-02773-LHK Document 780 Filed 10/17/18 Page 5 of 6


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                                          4            JOINT CASE MANAGEMENT STATEMENT
                                                         Case No. 5:17-md-02773-LHK-NMC
     1306746
      Case 5:17-md-02773-LHK Document 780 Filed 10/17/18 Page 6 of 6



 1                                       FILER’S ATTESTATION

 2             I, Robert A. Van Nest, am the ECF user whose identification and password are being used

 3   to file this Joint Case Management Statement. In compliance with Civil Local Rule 5-1(i)(3), I

 4   hereby attest that the signatories on this document have concurred in this filing.

 5

 6                                           /s/ Robert A. Van Nest
                                             ROBERT A. VAN NEST
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                                                       5                JOINT CASE MANAGEMENT STATEMENT
                                                                          Case No. 5:17-md-02773-LHK-NMC
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